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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                   1/14/22
  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                          Defendant.


ALISON J. NATHAN, District Judge:

       The Court required the parties to indicate whether Juror 50’s motion to intervene and to

be provided a copy of the juror’s completed questionnaire and voir dire should be redacted. Dkt.

No. 575. In response, the parties have submitted letters to the Court indicating their differing

views on whether Juror 50’s motion should be docketed at all. Upon further reflection, the Court

concludes that it must first address the threshold question of whether an inquiry is permitted

and/or required before considering Juror 50’s requests. Accordingly, the Court will not consider

or act on Juror 50’s request to intervene and to be provided a copy of the juror’s completed

questionnaire and voir dire until the Court receives the parties’ briefing on the appropriateness of

an inquiry and the nature of any such inquiry. The Court will maintain Juror 50’s motion

temporarily under seal until the Court considers the parties’ arguments and determines the

appropriate next steps.

       Consistent with this and to lessen the burden on the parties and the Court, the Court

adjusts the briefing schedule as follows. Rather than separately addressing Juror 50’s motion on

January 20, 2022, see Dkt. No. 575, the parties may address the issues raised by Juror 50’s

motion in their briefing on Defendant’s anticipated motion for a new trial, on the schedule

previously set by the Court. See Dkt. No. 571.

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       Finally, in an abundance of caution, the Court assumes that while these issues are being

briefed and resolved the parties are in full compliance with the law of the Second Circuit

requiring notice and the Court’s permission before any contact with jurors. See United States v.

Schwarz, 283 F.3d 76, 98 (2d Cir. 2002) (requiring notice to the court and opposing counsel and

that “post-trial questioning of jurors must only be conducted under the strict supervision and

control of the court” (quoting United States v. Brasco, 516 F.2d 816, 819 n.4 (2d Cir. 1975))).

Any failure to abide by that precedent must be reported to the Court immediately.

       SO ORDERED.



 Dated: January 14, 2022
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




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